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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

STEVE SNYDER-HILL, et al.,

                  Plaintiffs,

                                                Civil Action 2:18-cv-736
          v.                                    Judge Michael H. Watson
                                                Chief Magistrate Judge Elizabeth P. Deavers

THE OHIO STATE UNIVERSITY,

                  Defendant.


                                                ORDER

          On August 9, 2019, Plaintiffs filed a motion to substitute John Doe 18’s widow as

putative administratrix of the estate of John Doe 18 for Plaintiff John Doe 18 pursuant to Federal

Rule of Civil Procedure 25(a) or, in the alternative, for an extension of time to file a motion to

substitute, and for permission to file under seal a version of the motion to substitute that reveals

the identity of John Doe 18’s widow. (ECF No. 82.) At the time the motion was filed, however,

John Doe 18’s widow had had not yet been appointed as administratrix of his estate. (Id. at 2.)

Plaintiffs also represent that while Defendant consents to the requests to file the putative

administratrix’s name under seal and for an extension of time to file a supplemented motion to

substitute, it does not consent to the request to substitute.1 (Id.)

          To the extent Plaintiffs seek an extension of time to file a supplemented motion to

substitute, their motion (ECF No. 82) is GRANTED in that respect only.2 The parties are

DIRECTED to confer regarding the status of the state court proceedings seeking to appoint John



1
    Defendant, however, did not file an opposition to the motion to substitute.
2
    The request to substitute and for leave to file under seal therefore remain pending.
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Doe 18’s widow as administratrix and whether Defendant still opposes the requested

substitution. The parties are ORDERED to file a joint written status report on these matters,

including how much time Plaintiffs will need to file a supplemented motion to substitute, no later

than OCTOBER 15, 2019.

       IT IS SO ORDERED.



Date: October 8, 2019                            /s/ Elizabeth A. Preston Deavers
                                             ELIZABETH A. PRESTON DEAVERS
                                             CHIEF UNITED STATES MAGISTRATE JUDGE




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